Case 9:22-cv-81397-RLR Document 1 Entered on FLSD Docket 09/08/2022 Page 1 of 6




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

 IN RE: ZANTAC (RANITIDINE)                                                          MDL NO 2924
 PRODUCTS LIABILITY                                                                   20-MD-2924
 LITIGATION
                                                          JUDGE ROBIN L ROSENBERG
                                                  MAGISTRATE JUDGE BRUCE REINHART

 __________________________________/

 THIS DOCUMENT RELATES TO:                                JURY TRIAL DEMANDED
 __________________________________
 Marion Vigus-Rainwater personally and as the proposed personal
 Representative of Granville Rainwater

                        SHORT-FORM COMPLAINT – VERSION 2

        The Plaintiff(s) named below, by counsel, file(s) this Short Form Complaint against

 Defendants named below. Plaintiff(s) incorporate(s) by reference the allegations contained in the

 Amended Master Personal Injury Complaint (“AMPIC”) in In re: Zantac (Ranitidine) Products

 Lability Litigation, MDL No. 2924 (S.D. Fla). Plaintiff(s) file(s) this Short-Form Complaint –

 Version 2 as permitted by Pretrial Order No. 31 and as modified by the Court’s Orders regarding

 motions to dismiss [DE 2532, 2512, 2513, 2515, and 2016].

        Plaintiff(s) select(s) and indicate(s) by completing where requested, the Parties and Causes

 of Actions specific to this case. Where certain claims require additional pleading or case specific

 facts and individual information, Plaintiff(s) shall add and include them herein.

        Plaintiff(s), by counsel, allege as follows:

                       I.      PARTIES, JURISDICTION, AND VENUE

    A. PLAINTIFF(S)

        1.      Plaintiff(s) Marion Vigus-Rainwater (“Plaintiff(s)”) brings this action (check the
                applicable designation):

                               On behalf of [himself/herself];
Case 9:22-cv-81397-RLR Document 1 Entered on FLSD Docket 09/08/2022 Page 2 of 6




                                In representative capacity as the proposed personal representative of
                                the estate, on behalf of the injured party, (Injured Party’s Name)
                                Jennifer Wallace.

        2.      Injured     Party   is   currently a resident and citizen of           (City,   State)
                                          and claims damages as set forth below.

                                                      —OR—

                Decedent died on (Month, Day, Year) September 19, 2019. At the time of
                Decedent’s death, Decedent was a resident and citizen of (City, State) Spokane,
                Washington.

 If any party claims loss of consortium,

        3.      Marion Vigus-Rainwater (“Consortium Plaintiff”) alleges damages for loss of
                consortium.

        4.      At the time of the filing of this Short Form Complaint, Consortium Plaintiff is a
                citizen and resident of (City, State) Spokane, Washington.

        5.      At the time the alleged injury occurred, Consortium Plaintiff resided in (City, State)
                Spokane, Washington .


    B. DEFENDANT(S)


        6.      Plaintiff(s) name(s) the following Defendants from the Amended Master Personal
                Injury Complaint in this action:

                   a. Brand-Name Manufacturers:

                          GlaxoSmithKline, LLC;
                          Pfizer, Inc.;
                          Boehringer Ingelheim Pharmaceuticals, Inc.;
                          Chattem, Inc.;
                          Sanofi US Services, Inc.;
                          Patheon Manufacturing Service, LLC.

                   b. Generic Manufacturers:


                   c. Distributors and Repackager:


                   d. Retailers:
Case 9:22-cv-81397-RLR Document 1 Entered on FLSD Docket 09/08/2022 Page 3 of 6




                e. Others Not Named in the AMPIC:




    C. JURISDICTION AND VENUE


       7.    Identify the Federal District Court in which Plaintiff(s) would have filed this action
             in the absence of Pretrial Order No. 11 (direct filing) [or, if applicable, the District
             Court to which their original action was removed]:

                     Washington Eastern District Court.


       8.    Jurisdiction is proper upon diversity of citizenship.



                                   II.     PRODUCT USE


       9.    The Injured Party used Zantac and/or generic ranitidine: [Check all that apply]

                             By prescription

                             Over the counter

       10.   The Injured Party used Zantac and/or generic ranitidine from approximately
             (month, year) December, 1996 to __January 2017_.


                                III.     PHYSICAL INJURY


       11.   As a result of the Injured Party’s use of the medications specified above, [he/she]
             was diagnosed with the following specific type of cancer (check all that apply):

  Check all Cancer Type                                              Approximate Date of
  that                                                               Diagnosis
  apply
            BLADDER CANCER
            BREAST CANCER
            COLORECTAL/INTESTINAL CANCER
            ESOPHAGEAL CANCER
            GASTRIC CANCER                                           September 1, 2017
Case 9:22-cv-81397-RLR Document 1 Entered on FLSD Docket 09/08/2022 Page 4 of 6
Case 9:22-cv-81397-RLR Document 1 Entered on FLSD Docket 09/08/2022 Page 5 of 6
Case 9:22-cv-81397-RLR Document 1 Entered on FLSD Docket 09/08/2022 Page 6 of 6




                                          V.     JURY DEMAND

        15.    Plaintiff(s) hereby demand(s) a trial by jury as to all claims in this action.



                                    VI.        PRAYER FOR RELIEF

        WHEREFORE, Plaintiff(s) has/have been damaged as a result of Defendants’ actions or

 inactions and demand(s) judgment against Defendants on each of the above-referenced causes of

 action, jointly and severally to the full extent available in law or equity, as requested in the

 Amended Master Personal Injury Complaint.

 September 8, 2022

                                                /s/ Christopher LoPalo
                                                Christopher LoPalo
                                                NAPOLI SHKOLNIK, PLLC
                                                400 Broadhollow Rd, Suite 305
                                                Melville, NY 11747
                                                Tel: (212) 397-0000
                                                Fax: (646) 843-7603
                                                CLoPalo@napolilaw.com
                                                Attorney for Plaintiff
